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                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON


GRACIE FLOSSIE SPRY,

           Movant

v.                                            CRIMINAL NO. 2:01-00011-06

UNITED STATES OF AMERICA,

           Respondent


                        MEMORANDUM OPINION AND ORDER


           The court having received the proposed findings and

recommendation of the United States Magistrate Judge filed on

July 7, 2009, pursuant to the provisions of 28 U.S.C.

§ 636(b)(1)(B); and having reviewed the record in this proceed-

ing; and there being no objections filed by either the United

States or the movant to the proposed findings and recommendation;

and it appearing proper so to do, it is ORDERED that the findings

and conclusions made in the proposed findings and recommendation

of the magistrate judge be, and they hereby are, adopted by the

court.


           It is, accordingly, ORDERED that the movant's section

2255 motion be, and it hereby is, denied.
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           The Clerk is directed to forward copies of this order

to the movant, all counsel of record, and the magistrate judge.

                                         DATED: August 17, 2009


                                         John T. Copenhaver, Jr.
                                         United States District Judge
